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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 JANE DOE 1, JANE DOE 2 and JANE
 DOE 3,

                     Plaintiffs,

 v.                                                    Case No.: 6:23-cv-788-WWB-LHP

 VARSITY BRANDS, LLC, VARSITY
 SPIRIT, LLC, VARSITY BRANDS
 HOLDING COMPANY, INC., U.S. ALL
 STAR FEDERATION, INC., USA
 FEDERATION FOR SPORT
 CHEERING, CHARLESBANK CAPITAL
 PARTNERS, LP, BAIN CAPITAL, LP,
 JEFF WEBB, CHAMPION ELITE
 LEGACY, ASHLEY HUGHES and
 ERICK KRISTIANSON,

                     Defendants.


                                         ORDER

       THIS CAUSE is before the Court on Plaintiff’s Notice of Voluntary Dismissal With

 Prejudice as to Defendant, USA Federation of Sport Cheering d/b/a USA Cheer (Doc.

 113). Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the Clerk is directed to

 terminate USA Federation of Sport Cheering d/b/a USA Cheer as a Defendant in this

 matter and amend the case style accordingly.

       DONE AND ORDERED at Orlando, Florida on July 24, 2023.
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 Copies to:

 Counsel of Record
